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 4   Attorney for Plaintiff
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 7
                          UNITED STATES DISTRICT COURT
 8
                           FOR THE DISTRICT OF ARIZONA
 9
10                                                Cause No. 2:21-cv-01430-CDB
     ROBERT WILLIAMS,
11
                          Plaintiff,
12                                                JOINT STIPULATION OF
                        -vs-                      DISMISSAL
13
14
     WENDY’S PROPERTIES LLC,

15
                          Defendant.

16
17
             Plaintiff, Robert Williams and Defendant in this matter by and through their
18
     respective undersigned counsel, hereby file this Joint Stipulation of Dismissal to
19
20   dismiss with prejudice pursuant to the parties’ settlement agreement of this matter.
21
22
23   DATED this 22 February 2022

24                                           Respectfully submitted,
25
26                                           /s/ M. William Judnich
27                                           M. William Judnich
                                             (Bar No. 035931)


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